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                              SECURED PARTY:


                              ARK II CLO 2001-1, LTD.,



                              By:
                                    Name: Lynn Tilton
                                    Title: Director




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        IN WITNESS WHEREOF, the undersigned, as agent for the secured parties under the
Senior Security Agreement has caused this Agreement to be duly executed by its authorized
representatives as of the date first written above for the sole purpose of agreeing to the terms of
Section 27 of this Agreement, including, without limitation, agreeing to serve as bailee or as
agent of the Secured Party for the purpose of perfecting the security interests and Liens granted
to the Secured Party under this Agreement.

                                                    AGENT:

                                                    PATRIARCH PARTNERS AGENCY
                                                    SERVICES, LLC


                                                    By:
                                                             Name: Lynn Tilton
                                                             Title: Manager




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